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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §            Case No. 4:05cr198
                                                  §            (Judge Schneider)
 CLAYTON HAWKINS                                  §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on September 17, 2012, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by

 Randall Blake.

        On July 18, 2006, Defendant was sentenced by the Honorable Michael H. Schneider to forty

 (40) months’ custody followed by five (5) years of supervised release for the offense of Conspiracy

 to Manufacture, Distribute or Posses with Intent to Manufacture, Distribute or Dispense

 Methamphetamine. On December 15, 2008, Defendant completed his period of imprisonment and

 began service of his supervised term.

        On July 13, 2012, the U.S. Probation Officer executed a Petition for Warrant for Offender

 Under Supervision. The petition asserted that Defendant violated various mandatory, standard, and

 special conditions. Violation allegations one, two, five, six, and seven were dismissed by the

 Government. The petition also alleged violation of the following additional mandatory condition:

 The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall

 submit to one drug test within 15 days of release from imprisonment or placement on probation and

 at least two periodic drug tests thereafter, as determined by the court. The petition also alleged
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     violation of the following additional standard condition: The defendant shall refrain from excessive

     use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance,

     or any paraphernalia related to any controlled substances, except as prescribed by a physician.

             The petition alleges that Defendant committed the following acts with regard to the

     remaining violations: On June 20, 2011, Defendant submitted a urine specimen that tested positive

     for methamphetamine.

             Prior to the Government putting on its case, Defendant entered a plea of true to the remaining

     violations.

                                           RECOMMENDATION

             The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of eighteen (18) months with no

     supervised release to follow. It is also recommended that Defendant be housed in the Bureau of

     Prisons, Texarkana Unit. It is also recommended that Defendant be placed in the 500-hour drug

.    treatment program.

             After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.

            SIGNED this 18th day of September, 2012.




                                            ___________________________________
                                            AMOS L. MAZZANT
                                            UNITED STATES MAGISTRATE JUDGE
